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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF WYOMING

 BCB CHEYENNE LLC d/b/a BISON                         )
 BLOCKCHAIN, a Wyoming limited liability              )
 Company,                      .                      )
                                                      )
         Plaintiff,                                   )
                                                      )
 v.                                                   )   Civil No. 23-CV-79
                                                      )
 MINEONE WYOMING DATA CENTER,                         )
 LLC, a Delaware limited liability company;           )
 MINEONE PARTNERS LLC, a Delaware                     )
 limited liability company; TERRA CRYPTO              )
 INC., a Delaware corporation; BIT ORIGIN,            )
 LTD, a Cayman Island Company;                        )
 SONICHASH LLC, a Delaware limited                    )
 liability company; BITMAIN                           )
 TECHNOLOGIES HOLDING COMPANY,                        )
 A Cayman Island Company; BITMAIN                     )
 TECHNOLOGIES GEORGIA LIMITED,                        )
 a Georgia corporation; and JOHN DOES 1-18,           )
 related persons and companies who control            )
 or direct some or all of the named Defendants,       )
                                                      )
         Defendants.                                  )


      PLAINTIFF’S RESPONSE IN OPPOSITION TO THE MOTION TO DISMISS
           OF DEFENDANTS BIT ORIGIN, LTD. AND SONICHASH, LLC


        COMES NOW Plaintiff BCB Cheyenne LLC, d/b/a Bison Blockchain (“BCB”), through its

counsel, and respectfully submits this Response to Defendants Bit Origin, Ltd.’s and SonicHash,



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LLC’s 5/10/24 Motion to Dismiss for Plaintiff’s asserted failure to allege and/or establish facts

sufficient to establish diversity jurisdiction sufficient to satisfy 28 U.S.C. § 1332(a)(1).

                                  I. PRELIMINARY STATEMENT

         Counsel for Bit Origin, Ltd. and SonicHash correctly begin their domicile analysis. They

 say, “If indeed Desrochers was a Colorado Domiciliary at the time this action was commenced

 (May 2023), then complete diversity existed at that time, and it continues to exist today.” See Bit

 Origin’s 5/10/24 Memorandum [ECF 174, p. 2 of 16]. But, by the end of their Memorandum, Bit

 Origin and SonicHash are reduced to urging the following speculation as the crux of their Texas

 domicile argument:

         Given the documentary evidence presented here, including the fact Desrochers
         appears to be residing in New York at the moment and perhaps as far back as
         January 2024, Plaintiff has a heavy burden to meet [to prove his Colorado domicile
         on May 3, 2023].

 See Memorandum at ECF p. 14 of 16.

         Tim Desrochers was not residing in New York in 2024, but, even if he was, it is of no

 moment to the May 3, 2023 domicile analysis.

         Like MineOne and Terra Crypto, Bit Origin and SonicHash avoid mentioning that Tim

 Desrochers does not currently “live” anywhere in Texas, nor did he in 2020, 2021, 2022, or 2023.

 Defendants never suggest Texas is Tim Desrochers’ “home.” They never place Tim Desrochers

 anywhere in Texas after September 6, 2019, except for the one time – in 2022 – he visited a friend

 at that friend’s parents’ home in Austin, Texas and visited an Orange Theory health club while he

 was there.

         Bit Origin and SonicHash stretch way too far when they argue, “In fact, it is very strange

 for a 33-year-old man to be living permanently with his older sister, her husband, and their young

 child.” See Memorandum at ECF 176, p. 13 of 16. Actually, this is what people have done for


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thousands of years, even if it is not as common in modern times in the United States. In her

Affidavit, Tim Desrochers’ sister, Caroline Desrochers Free, describes the reasons, and family

history, for why she and Tim are so close and why they still live together. See ECF 180-54 (“Tim

attended UGA and graduated in May of 2013. During the years I was attending UGA, I stayed in

Georgia to be close to Tim . . . I was the only family Tim had in the area. Tim and I are very close

and we have always supported each other . . . Tim and I have lived together pretty much our entire

lives . . . his home has always been with me where we are living”).

       Critically, in their Memorandum, Bit Origin/SonicHash avoid saying the word “PostNet.”

Instead, they always call Mr. Desrochers’ PostNet mailbox his “Texas Address.” They fear calling

it what it is: a virtual mail address. And with good reason: as a matter of law, a mailbox address is

insufficient to establish domicile. See infra at pp. 3-6. And, despite knowing that Tim Desrochers

filed Colorado state income tax returns – and paid Colorado state income taxes – in 2017-2018,

and that Mr. Desrochers is filing and paying Colorado state income tax returns and taxes in 2023,

Bit Origin/SonicHash never touch, in their Memorandum, that Tim Desrochers is filing his 2023

Colorado state income taxes in the only year that matters: 2023.

                               II.     REBUTTAL ARGUMENT

       A.      As a Matter of Law, a Mailbox is Insufficient to Establish Domicile.

       All four Defendants argue that Tim Desrochers’ Texas PostNet mailbox address establishes

his Texas as his “domicile.” All four Defendants are wrong. In BCB’s 5/13/24 Response to

MineOne’s Motion to Dismiss, BCB said this: “No Court has ever equated a virtual or private

mailbox rental with a ‘home’ for domicile.” See BCB Response at ECF 180, p.23 of 24. Federal

domicile law proves the truth of BCB’s assertion. Courts have spoken on this very issue and said:

    A mailbox is insufficient to establish domicile. See, e.g., Fort v. ABZCO, LLC, 470
    F. Supp. 3d 133, 137 (D. PR. 2020) (rejecting Plaintiff’s claim of diversity jurisdiction


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    based upon New Jersey domicile because “[m]ost notably, [plaintiff] no longer has a
    residence in New Jersey to which she can return. The only New Jersey address cited
    by [plaintiff] is a P.O. Box”); Bobo v. City of Fresno, No. 6:14-CV-01070-MC, 2014
    WL 3784103, *1 (D. Or. July 31, 2014) (“Plaintiff also lists a post office box for his
    Oregon address, which is not a permanent abode and not sufficient proof of
    domicile”); Smith v. Breakthrough Int’l, Case No. 12-1832, 2013 WL 4731245 *4,
    (N.D. Cal. Sept. 3, 2013) (“But just having a post office box in Portland today would
    not be not sufficient proof of domicile”); Gravdahl v. Conwell, No. 00-C-0579, 2002
    U.S. Dist. LEXIS 4184, 2002 WL 398599, at *2 (N.D. Ill. Mar. 14, 2002) (“We have
    little trouble concluding that post office box cannot establish a domicile or
    residence”).

Levy v. Suissa, No. CV162532EKARL, 2021 WL 2402240, at *4 (E.D.N.Y. Mar. 19, 2021), report

and recommendation adopted, No. 16-CV-2532(EK)(ARL), 2021 WL 2401011 (E.D.N.Y. June

11, 2021) (emphasis added). See also Truxillo v. Amercian Zurich Ins. Co., No. CV 16-369-JJB-

EWD, 2016 WL 6987127, at *4 (M.D. La. Oct. 24, 2016), report and recommendation adopted

sub nom. Truxillo v. Am. Zurich Ins. Co., No. CV 16-369-JJB-EWD, 2016 WL 6986676 (M.D.

La. Nov. 28, 2016) (holding that just having a post office box is not sufficient proof of domicile);

Bell v. Iozzo, No. 22-CV-10888 (LTS), 2023 WL 2186452, at *3 (S.D.N.Y. Feb. 23, 2023);

Turicchi v. Quaid, No. CV 18-8908 PA (AFMX), 2019 WL 3213587, at *2 (C.D. Cal. Apr. 25,

2019); Ali v. City of E. Cleveland, No. 1:18 CV 2068, 2018 WL 6696911, at *1 (N.D. Ohio Dec.

20, 2018); Byrd v. QDRO Off., No. 3:13-CV-2712, 2014 WL 4715869, at *3 (N.D. Ohio Sept. 22,

2014); Hudson v. Divers Alert Network, No. 4:08-CV-00036-JEG, 2008 WL 2705163, at *2 (S.D.

Iowa June 16, 2008); Walden v. Libery Mut. Ins. Corp., No. 18-CV-00097-PAB, 2018 WL 495185,

at *2 (D. Colo. Jan. 19, 2018).

       The facts of the instant case regarding Tim Desrochers’ domicile are remarkably similar to

those in Levy. In Levy, the Court determined that a P.O. box is insufficient to establish domicile

when that party had moved all of his personal belongings to another jurisdiction. Similar to the

parties in the cases above, Tim Desrochers has no physical residence in Texas to return to and has




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moved to Colorado together with his belongings. As Tim Desrochers’ “Texas address” is nothing

more than a mail receiving/scanning/forwarding service and not a residence in which he can reside,

there is no way for Defendants to establish that Tim Desrochers is domiciled in Texas.

       What Defendants refuse to appreciate is that “a person acquires domicile in a state when

the person resides there and intends to remain there indefinitely,” Middleton v. Stephenson, 749

F.3d 1197, 1200 (10th Cir. 2014) (citing Crowley v. Glaze, 710 F.2d 676, 678 (10th Cir.1983)

(emphasis added), and that “domicile is established by physical presence in a place in connection

with a certain state of mind concerning one's intent to remain there.” Miss. Band of Choctaw

Indians v. Holyfield, 490 U.S. 30, 48, 109 S.Ct. 1597, 104 L.Ed.2d 29 (1989) (emphasis added). A

physical presence and residence in the state is required to establish domicile. Tim Desrochers

cannot reside at an address that is purely a commercial mail-receiving/scanning/forwarding service

such as PostNet. Similarly, he has no residence in Texas. Tim Desrochers does, however, have a

physical presence in Fort Collins, Colorado where he lives with his sister and her family at their

home. Consistent with Levy, Tim’s residence in Fort Collins, Colorado is the residence which Tim

Desrochers always returns to after travelling. After “all” of his travels since 2017, he always

returns to “my family’s home in Fort Collins.” Tim Desrochers Depo. at 208. “Domicile is the

place where a person has his true and fixed home and principal establishment, and to which,

whenever he is absent he has the intention of returning.” Levy, 2021 WL 2402240, at *3; and see

Middleton, 749 F.3d at 1200 (“[A] person acquires domicile in a state when the person resides

there and intends to remain there indefinitely”) (emphasis added). Tim Desrochers has no intention

of returning to Texas after travelling, and again, has no physical residence in Texas to return to.

       Borderud v. Riverside Motorcars, LLC, No. 3:18-CV-1291 (VAB), 2020 WL 2494760, (D.

Conn. May 13, 2020) is also factually similar to the instant case. Mr. Borderud lived in Connecticut




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until May 16, 2017. Id. at 1. After May 16, 2017, he began travelling throughout the southern and

southeastern states until September of 2017. During this time, Mr. Borderud always returned to

New York where he had a room in his daughter’s apartment, received his mail, and spent twenty

to thirty days out of the year. Id. at 6. The Court found that the contacts Mr. Borderud had

established in New York outweighed his remaining contacts to Connecticut (receiving Social

Security payments by direct deposit from his bank in Stratford, Connecticut, having a valid

Connecticut driver's license 1 listing an address in Stratford, and casting a ballot in Stratford,

Connecticut during the 2016 presidential election). This finding led the Court to hold that Mr.

Borderud maintained a physical presence in New York rather than Connecticut, and “possessed

an intent to remain in New York indefinitely, especially because he would return there whenever

he was not traveling.” Id.

       Borderud holds that without a physical presence in a state, a person cannot be domiciled

in that state even if he or she continues to have certain contacts with the state. In the instant case,

it is well established and not contested that Tim Desrochers does not have a physical presence in

the state of Texas. Tim Desrochers resides and has a physical presence in Fort Collins, Colorado.

His home in Colorado is where he returns to after travelling. Tim Desrochers’ limited contacts

with the state of Texas are not sufficient to establish domicile in Texas absent a physical presence

there. Consequently, the fact that Tim Desrochers has a mailing address with an electronic mailing

service in Texas is insufficient, as a matter of law, to establish residence and, therefore, domicile

in Texas. Fort at 137, Bobo at 1, Smith at 4, Gravdahl at 2, supra.



1
  As it was in Borderud, so it is here. The fact that Tim Desrochers had a Texas driver’s license
as of May 3, 2023 is of no moment or consequence. And having a Texas driver’s license does not
indicate that Tim Desrochers had any intent of returning to Texas, especially when his testimony
and documentary evidence establish that he had zero intent at residing, living, or even being in
Texas in January-May, 2023.

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       As BCB stated in its 5/13/24 Response: “No Court has ever equated a virtual or private

mailbox rental with a ‘home’ for domicile.” [ECF 180, p.23 of 28] BCB has demonstrated here

that all of the cases considering this question have held that a mailbox is insufficient to establish

domicile, even where one has a driver’s license and receives Social Security benefits in the same

state as his or her mailbox.

       B.      Defendants’ Reliance on Judge Rankin’s 3/27/24 Jurisdictional
               Discovery Order [ECF 154] is Misplaced. Judge Rankin Did Not Have
               the Jurisdictional Facts When He Entered His Jurisdictional Discovery
               Order.

       In its Memorandum, Bit Origin/SonicHash never mention Judge Rankin or Judge Rankin’s

3/27/24 Jurisdictional Discovery Order. But the MineOne Defendants tout Judge Rankin’s

jurisdictional discovery Order as though Judge Rankin has already decided/determined that Tim

Desrochers was domiciled in Texas in May 2023. They quote from Judge Rankin’s jurisdictional

discovery Order three times, and intimate that Judge Rankin ‘got it right,’ and BCB and Tim

Desrochers ‘have it wrong’ in their domicile analyses. This is unfortunate. Judge Rankin entered

his jurisdictional discovery Order without knowing the domicile facts. When Judge Rankin

entered his discovery Order, he and his law clerk did not have and knew nothing about:

   •   The 1,454 pages of documents Tim Desrochers produced to all counsel on April 5, 2024;

       April 8, 2024; April 15, 2024; April 22, 2024; and May 7, 2024 (pursuant to MineOne’s

       subpoena);

   •   Tim Desrochers’ 2018 Colorado state income tax return (showing Tim filed and paid

       Colorado state income taxes in 2017 and 2018);

   •   Tim Desrochers’ September 6, 2019 Addison, Texas apartment move-out papers;

   •   Caroline Desrochers’ Affidavit (establishing that Tim Desrochers lives with Caroline and




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       her husband, James Free, at their Colorado home);

   •   how Tim Desrochers has lived with his sister Caroline in Fort Collins from 2017-2024,

       first at their 4900 Boardwalk apartment from July 4, 2017 – October 2019, then at their

       7426 Matheson Drive home from October 2019 – present;

   •   Tim Desrochers’ bedroom at 7426 Matheson and how he has all his personal and family

       possessions there;

   •   how Tim has never had any apartment, house, or abode in Texas from 2020-2024;

   •   how Tim receives all his Amazon packages at his home at 7426 Matheson Drive, Fort

       Collins, Colorado;

   •   how Tim has his medical, dental and car care in Colorado, not in Texas; and

   •   how Tim’s Utah CPA, Peng Lim, recommended that Tim file his 2020-2022 federal income

       tax return with his Austin, Texas PostNet virtual mailbox address.

       Judge Rankin’s jurisdictional discovery Order was not a decision on Tim Desrochers’

domicile. It was an order to permit additional discovery so that Tim Desrochers’ true domicile

could be determined. Defendants mistakenly rely on Judge Rankin’s comments in his jurisdictional

discovery order, which Judge Rankin made without knowing everything that is now known by all

parties, particularly the above facts that prove Tim Desrochers was domiciled in Colorado in May

2023. Defendants, who had requested – and received – additional discovery per the order of Judge

Rankin, are now grasping at straws by relying on commentary by Judge Rankin that (a) is outdated

and misinformed based on all of the relevant information Judge Rankin ordered to be obtained

through additional jurisdictional discovery, and (b) was only meant to support Judge Rankin’s

belief that more jurisdictional discovery was needed (not that Tim Desrochers was domiciled in a

particular location).



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       Furthermore, Judge Rankin was factually mistaken when he wrote, “The gasoline on the

fire 2 is his tax returns. Mr. Desrochers’ 2021-2023 federal tax returns list his home address in

Austin, Texas.” [ECF 154, p. 9 of 11]. (Emphasis added). Mr. Desrochers testified he has not yet

filed his 2023 federal or state income tax returns. With the assistance of his Colorado CPA, Mr.

Desrochers obtained, on February 12, 2024, an extension of time – until October 15, 2024 – to file

his Colorado federal income tax returns.

       Moreover, Judge Rankin mistakenly perceived that Tim Desrochers had a Texas domicile,

and that it is BCB’s burden to show, “by a preponderance of the evidence,” that “his domicile

changed from Texas to Colorado.” ECF 154 at p. 8 of 11. (emphasis added). This is 180 degrees

mistaken. Tim Desrochers was never domiciled in Texas. Tim Desrochers was domiciled in Fort

Collins, Colorado continuously from July 4, 2017 – present (but Judge Rankin did not have the

needed facts to make an informed decision on Tim Desrochers’ domicile – Texas or Colorado –

when His Honor entered his jurisdictional discovery Order). If Judge Rankin had had the facts

that are now before Judge Johnson, Judge Rankin would not have written it was, “Mr. Desrochers’

burden is to in fact show his domicile changed from Texas to Colorado by a preponderance of the

evidence.” (emphasis added). He correctly would have written that it is the “Defendants’ burden

to show that Tim Desrochers’ domicile changed from Colorado to Texas,” which it never did.

       Defendants also lean on Judge Rankin’s mis-informed ‘storage unit’ observations as some

kind of proof that Tim Desrochers was domiciled in Texas, not Colorado. Judge Rankin’s

mistaken speculation flies in the face of the facts.

       As far as this Court is concerned, it is just as likely that Mr. Desrochers is using his
       sister’s house as a storage unit for his personal items than as an actual residence.
2
  This is so similar to the mistaken analogy Marc Gottlieb employed in is 3/5/24 jurisdictional
discovery letter to Judge Rankin [“Red Flag #1, Red Flag #2…”], and Judge Rankin’s law clerk
and/or Judge Rankin mistakenly ran with this inapt analogy, thus missing the true and genuine
domicile analysis.

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       His constant travel for work, allegedly the reason for why service has been so
       difficult, further supports that he may just need a place to keep his things for the
       time being.

[ECF 154 at p. 10 of 11].

       There is no evidence that Tim Desrochers uses his Colorado home as a mere “storage unit.”

There is no evidence that Tim Desrochers “constantly travels for work.” Instead, the evidence now

before the Court demonstrates that Tim Desrochers lives with his family at their home in Fort

Collins, Colorado. He has a bedroom there and has “everything he owns” there. See Tim

Desrochers Depo. at 40-41, 50. When Mr. Desrochers travels, whether for work or otherwise, he

always returns to his Colorado home. Id. at 208; see also Caroline Free Affidavit at ¶ 9 (“Tim is

frequently on the road for work and/or personal travel. That does not negate that his home has

always been with me where we are living.”). Moreover, the fact that Mr. Desrochers travels does

not affect this domicile analysis. “[P]eople may travel outside their state of residence—even for

extended periods of time—without affecting their domicile.” Neiman v. Barazani, No. 22-15843,

2023 WL 4891981, at *1 (9th Cir. Aug. 1, 2023); see MacDonald v. Gen. Motors Corp., 110 F.3d

337, 343 (6th Cir. 1997) (“Domicile is ‘where a person has his principal home and place of

enjoyment of his fortunes; which he does not expect to leave, except for a purpose; from which

when absent, he seems to himself a wayfarer; to which when he returns, he ceases to

travel’”)(citations omitted). Mr. Desrochers’ house/home in Fort Collins, Colorado is not a layover

or a waypoint or merely a place for him to store his things for the time being; instead, it is Mr.

Desrochers’ only home.

       In its Memorandum, Bit Origin/SonicHash misunderstands the facts and the applicable law.

They say:

       The burden of proof is heightened here given Plaintiff’s original declaration that
       Desrochers was domiciled in Texas prior to his alleged relocation in Colorado.


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See Bit Origin Memorandum [ECF 176, p. 8 of 16] (bold and italics emphasis added).

       Factually, Tim Desrochers and BCB have never said or alleged that Tim Desrochers

relocated from Texas to Colorado. Desrochers never relocated from Colorado to Texas: he

remained in Colorado from July 4, 2017 – present, and spent infrequent nights at a sparsely-

furnished apartment between November 2018 – September 6, 2019 while still residing, living and

making his home with his sister, Caroline Free, at their 4900 Boardwalk apartment in Fort Collins.

Second, Tim Desrochers never said he was domiciled in Texas. While James Quid mistakenly

listed Tim Desrochers as being domiciled in “TX” on the original corporate disclosure form, Mr.

Quid quickly corrected his mistake once he learned, from Tim Desrochers, that Mr. Desrochers

hadn’t been in Texas since 2020. Third, Bit Origin cites no case to support its “heightened” burden

of proof here. There is no “heightened” burden of proof. BCB’s only burden of persuasion is to

show, by a preponderance of evidence, Tim Desrochers was domiciled in Colorado on May 3,

2023. BCB has carried its burden beyond any reasonable doubt.

       C.      All Defendants Avoid Any Meaningful Analysis of Middleton v.
               Stephenson, 749 P.3d 1197 (10th Cir. 2014).

       There is a reason Defendants never analyze Middleton v. Stephenson, 749 F.3d 1197 (10th

Cir. 2014). Middleton is the most factually and legally applicable Tenth Circuit domicile case. To

be sure, Defendants mention Middleton for such basic principles as:

       •    “A person is a citizen of a state if the person is domiciled in that state” (Memorandum

            at ECF 176, p. 6 of 16];

       •    “A district court should consider the totality of the circumstances (when determining a

            person’s domicile for diversity – jurisdiction purposes)” [Id. at 9 of 16]; and

       •    “the party invoking diversity jurisdiction bears the burden of proving its existence by a

            preponderance of the evidence [ECF 179, p. 17 of 32]


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but they avoid – like a plague – any recognition or analysis of what makes Middleton dispositive

of Tim Desrochers’ domicile in our case.

       In Middleton, Circuit Judge Greg Phillips and the Tenth Circuit reviewed the compelling

domicile evidence (Wyoming v. Utah). The Court considered Mr. Stephenson’s intent (“In [the]

fall of 2008, Stephenson told Hall that his wife didn’t like living in Wyoming so they intended to

move back to their old home in Utah after the school year”) (emphasis added). Middleton, 749

F.3d at 1201. The Court considered that their Utah “rooms were fully furnished,” just like Tim

Desrochers’ home at 7426 Matheson Drive are fully furnished. Id. (emphasis added). One of Tim

Desrochers’ cars – the Kia – carries Colorado plates. After noting this and other evidence of Mr.

Stephenson’s Utah domicile, Judge Phillips made the Court’s most meaningful and controlling

analysis:

       We don’t mean to suggest that Stephenson had nothing on his side of the ledger.
       To be sure, he had evidence pointing to Wyoming as his domicile. For example,
       he highlighted that he owned a home and ranch near Evanston, Wyoming, that he
       was registered to vote and did vote in Wyoming, and that his tax returns showed
       a Wyoming address. Even so, the district court weighed this evidence and wasn’t
       persuaded. And, for our part, we aren’t persuaded that the district court’s scales
       were so poorly calibrated that its finding constituted clear error.

Middleton, 749 F.3d at 1201-02 (emphasis added). Even where, as in Middleton, Mr. Stephenson

had a Wyoming “home and ranch,” was registered to vote in Wyoming, and his “tax returns

showed a Wyoming address,” the Tenth Circuit found that Mr. Stephenson’s physical presence

and intent to reside in Utah compelled the conclusion he was domiciled in Utah (not Wyoming).

That Mr. Stephenson filed his tax returns from Wyoming – and consequently paid no state income

taxes – and did not overcome the conclusion he was domiciled in Utah. It was not an important

domicile factor. Defendants side step any Middleton analysis. But this Middleton analysis drives

– or should drive – this Court’s decision that Tim Desrochers was domiciled in Colorado despite




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filing his 2020-2022 federal tax returns from his Texas PostNet mailing address. Tim Desrochers

had no physical presence in Texas from 2020-2024, nor did he have any intent to live in Texas

(then or ever).

       D.         Tim Desrochers Never “Scrubbed” His LinkedIn Account Seven
                  Months After This Domicile Issue Surfaced; Instead, He Regularly
                  Updates His LinkedIn Profile.

       At page 13 of its Memorandum, Bit Origin argues as follows:

       The Court should also be mindful of the fact that since this jurisdictional issue
       has arisen, Desrocher (sic) has been hard a (sic) work scrubbing Texas from his
       social media sites… Desrocher (sic) conceded that sometime between February
       12, 2024 (when he listed “Austin, Texas” as the locations of his employers) and
       April 15, 2024 (when his attorney produced Desrocher’s (sic) updated LinkedIn
       screenshot) Desrocher (sic) removed the Austin, Texas reference. (See Tr. P.
       93, Lines 4-10).

Bit Origin Memorandum [ECF 176, p. 13 of 16]. When Bit Origin’s counsel says that Tim

Desrochers has been hard at work “scrubbing” Texas from his LinkedIn page “since this

jurisdictional issue has arisen,” he badly exaggerates. It wasn’t until sometime between February

12, 2024 and April 23, 2024, that Tim Desrochers “updated” his LinkedIn profile to accurately

reflect his “remote” work status with Amazon Web Services (instead of “Austin, Texas”). Tim

Desrochers Depo. at 88-100. “Scrubbing” is Bit Origin’s characterization, not Tim Desrochers’

sworn testimony. Id. at 90 (“I update my LinkedIn profile on a semi week – multiple times a

month…”). And Mr. Desrochers explained why he updated his LinkedIn profile from Austin,

Texas to “remote.”

                  Q:    Okay. And so why did you remove on Exhibit 6 the reference to
                        “Austin, Texas,” that was opposite your current employer?

                  A:    There’s been a big shift in companies moving away from remote
                        work. So I wanted to make it clear that for anybody who reaches out
                        to me on LinkedIn, that remote work is a top priority and condition
                        for me.




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Tim Desrochers Depo. at 91.

        Mr. Desrochers further explained that “I have made updates [to my LinkedIn profile] to

indicate to recruiters that I am a remote worker.” Id. at 91. Mr. Desrochers says he “change[s] [his

LinkedIn profile] almost on a monthly basis based on market trends, things I read in the news…

shifts in the technology sector.” Id. at 94, 95. He has never retained a copy of his LinkedIn profile.

Id. at 99. And he corrected Ms. Colbath for not showing him “every aspect of my LinkedIn

profile.” Id. at 100.

        Defendants’ mis-statements and arguments about Tim Desrochers’ domicile are vapid

attempts to make something out of nothing.

                                          CONCLUSION

        We end where we began, with Defendants’ unsupported speculation that “Desrochers

appears to be residing in New York at the moment, and perhaps as far back as January 2024,” [Bit

Origin] Memorandum at p. 14, and the MineOne Defendants’ concluding speculation that:

        The overwhelming record evidence establishes that Mr. Desrochers did not sever
        ties with Texas, that he used his sister’s home in Colorado to store his belongings,
        and otherwise travels the country in his sleeper van.

[ECF 179, p. 29 of 32].

        First, the Defendants never use the word “home” to describe where Tim Desrochers stayed

in Texas in 2018-2019. They just call his PostNet address his “Texas address,” knowing it is not

his “home.” But domicile case law requires a state be one’s home, not his mere mailing address,

and certainly not a virtual mailing address or post office box.

        Second, they avoid mentioning, or analyzing, the two “inextricable elements of domicile.”

Wilson, 2013 WL 1341401, at *2 (“Residence and intent are inextricable elements of domicile”).

Defendants concede Tim Desrochers did not reside anywhere in Texas from 2020-2023.




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          Third, they avoid another domicile Achilles Heel for Defendants. They won’t discuss the

fact that Tim Desrochers had no “physical presence,” let alone a residence, anywhere in Texas

from 2020-2023.

          Fourth, they say, “Mr. Desrochers did not sever ties with Texas,” but fail to appreciate that

Tim Desrochers left Texas for good on September 6, 2019, and never returned. Tim Desrochers

didn’t/doesn’t want to live in Texas and, during the next four years, Tim spent only a handful of

nights in Texas, one time in 2022, visiting a friend. He severed his two primary ties to Texas when

he (1) ended his Addison, Texas lease on September 6, 2019, and (2) when his Automation

Anywhere “remote” employment ended in Texas in early 2020 (when Automation Anywhere

closed its Texas office).

          Fifth, all of the record evidence proves that Tim Desrochers does not merely “use his

sister’s home in Colorado, to store his belongings.” Tim Desrochers’ sworn testimony refutes this.

So does his sister’s sworn affidavit. Tim and Caroline Desrochers have lived together – in two

apartments, and now in one house – since Tim Desrochers graduated from UGA in 2013. They

live together. Tim Desrochers does not live separately from his sister, in some other place, abode,

or home. Tim Desrochers’ only home – from 2013-2024 – is with his sister, Caroline Free. While

counsel for Bit Origin can denigrate their relationship and living arrangement, 3 this is their

relationship.

          Finally, MineOne’s concluding speculation and nonsense that Tim Desrochers “uses his

sister’s home in Colorado to store his belongings, and otherwise travels the country in his sleeper

van” wholly misrepresents the record evidence. While Tim Desrochers admits driving his van


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     Mr. Gottlieb writes, “In fact, it’s very strange for a 33-year-old man to be living permanently
    with his older sister, her husband and their young child.” [ECF 176, p. 13 of 16]. But a great man
    once shared with me: “What’s the point of being family, if you can’t help family?” – Dr. Joseph
    P. Murphy, father of 12 children (1927-2004).

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around the Rocky Mountain area to work and ski in the January-February winter months, he

testified he sleeps in his van “only if I have to,” and works remotely in his van only “if I have to.”

Tim Desrochers Depo. at 252. MineOne’s exaggeration and misrepresentation of the actual facts

reminds this writer of what MineOne’s Jiaming Li fraudulently warranted and represented to

CleanSpark in Article 7(a)(vi) of the 5/8/24 PURCHASE AND SALE AGREEMENT:

       Article 7. Representations and Warranties. Seller’s Representations and Warranties.

               (a)(vi). There is no litigation pending or threatened against Seller that
                        arises out of Seller’s ownership or operation of the Property.

Bit Origin and MineOne are reduced to making unsupportable mis-statements to try to win on

domicile.

       Actual residence + intent to reside there = citizenship/domicile. Tim Desrochers had

both “inextricable elements of domicile” in Colorado on May 3, 2023, and the years preceding

May 2023. Wilson, 2013 WL 1341401 at *2 (“Residence and intent are inextricable elements of

domicile”). Tim Desrochers never had them in Texas. He resided and lives/lived with his sister

in Fort Collins from 2017-2024. Fort Collins – with his sister and his brother-in-law at their family

home – is the only place Tim Desrochers wants or intends to live. No one can reasonably conclude

Mr. Desrochers’ private virtual mailbox address is his residence, his home. Plaintiff BCB

Cheyenne LLC has more than met its burden of demonstrating Tim Desrochers’ domicile, in

Colorado, on the date this case was filed. The Court should affirm that Mr. Desrochers was

domiciled in Colorado on May 3, 2023, and that complete diversity exists.

       DATED this 17th day of May, 2024.




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                                           BCB CHEYENNE LLC d/b/a
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                            CERTIFICATE OF SERVICE

     The undersigned does hereby certify that a true and correct copy of the foregoing
document was delivered to the Court via the CM/ECF System and served upon counsel via
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